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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                      Plaintiff,                  )
                                                  )
               v.                                 )        Case No. 07-20007
                                                  )
AARON HARRIS,                                     )
                                                  )
                      Defendant.                  )
                                                  )



                          MEMORANDUM AND ORDER

        Aaron Harris is currently serving a 151-month prison sentence. His case is

before the court on his motion to reduce his sentence (doc. 143). For the reasons

discussed below, this motion is denied.

1.       Background

        In 2007, Mr. Harris pleaded guilty to conspiracy to distribute or possess with

the intent to distribute more than fifty grams of cocaine base. The Presentence

Investigation Report (PSR) filed with the court attributed to Mr. Harris more than 1.5

kilograms of cocaine base. Thus, according to the PSR, his base offense level was

36. Mr. Harris, however, objected to the amount of drugs included as relevant

conduct. The court sustained his objection, applied a two-level enhancement for his

aggravated role in the offense, and reduced his offense level for acceptance of

responsibility. Mr. Harris had a total offense level of 33.
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        To determine Mr. Harris’s criminal history category, the PSR assessed points

for two prior convictions, including a misdemeanor conviction for possession of

marijuana, for which Mr. Harris paid a fine of $200, and a felony conviction for

possession of a controlled drug, for which Mr. Harris was sentenced to two years

deferred, and a fine and costs of $1760.50. The PSR also identified nine other

criminal and traffic convictions that were not assessed any points. These prior

convictions placed Mr. Harris in criminal history category II. Mr. Harris did not

object to this calculation.

        On May 2, 2008, Mr. Harris was sentenced to 151 months in prison followed

by five years of supervised release. He filed a motion to reduce his sentence and

correct his criminal history points based on Amendment 709 to the sentencing

guidelines (doc. 114). That motion was denied (doc. 126). Mr. Harris then filed a

motion to reconsider this court’s refusal to reduce his sentence (doc. 129) and motion

to waive the fines and fees imposed as part of his sentence until after he is released

from prison (doc. 137). These motions were denied (doc. 141). He has now filed a

motion to recalculate his criminal history points and reduce his sentence under 18

USC § 3582(c)(2).

2.      Discussion

        Mr. Harris requests that this court correct his criminal history points as

calculated pursuant to § 4A1.2 of the Sentencing Guidelines. U.S.S.G. § 4A1.2.



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Section 4A1.2 provides definitions and instructions for calculating criminal history

points. It states that any prior sentence imposed within ten years of the defendant’s

commencement of the instant offense is counted towards a defendant’s criminal

history category. U.S.S.G. § 4A1.2(e). Mr. Harris argues that he should not have

received any criminal history points for the 1996 possession of marijuana conviction.

       Mr. Harris also suggests that his sentence should be reduced pursuant to this

court’s authority under 18 U.S.C. § 3582(c)(2), which allows a court to modify a

sentence “in the case of a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission pursuant to 28 U.S.C. § 994(o).” 18 U.S.C. § 3582(c)(2). He

requests that this court reduce his sentence based on Amendment 706 to the

Sentencing Guidelines, which modified base offense levels for cocaine base in the

Drug Quantity Table of § 2D1.1. U.S.S.G. app. C Supp. Amend. 706.

       Finally, Mr. Harris requests that this court divert from the Sentencing

Guidelines and reduce his sentence under the authority of Spears v. United States,

129 S. Ct. 840 (2009), which permits a district court to vary from the crack/powder

Sentencing Guidelines and substitute its own ratio. He suggests Spears is new law

and therefore an appropriate basis to prevail over the plea agreement waiver of his

right to file motions under 18 U.S.C. § 3582(c)(2).



       A.     Waiver

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         As this court noted in its previous order, Mr. Harris’s plea agreement included

a waiver of appeal or collateral attack. Specifically, Mr. Harris

         waives any right to challenge his conviction and/or sentence or otherwise
         attempt to modify or change his sentence or the manner which the sentence
         was determined in any collateral attack, including, but not limited to, a motion
         brought under [28 U.S.C. § 2255], a motion brought under [18 U.S.C.
         § 3582(c)(2),] and a motion brought under Fed. Rule of Civ. Pro 60(b).

Mr. Harris’s motion provides no reason why that waiver should not again be

enforced. See, e.g., United States v. Cockerham, 237 F.3d 1179, 1181-82 (10th Cir.

2001) (concluding that a waiver of the right to appeal and to collaterally attack a

judgment or sentence are valid and enforceable). Neither does Spears provide Mr.

Harris with a means to bypass the waiver in his plea agreement. Spears has no

impact on a district court’s authority to reduce a defendant’s sentence under 28

U.S.C. § 3582(c)(2), nor does it overrule any prior precedent interpreting

§ 3582(c)(2). See United States v. McDaniel, 330 Fed. Appx. 759, 761-62 (10th Cir.

2009).

         B.     Merits

         Even assuming this court were willing to allow Mr. Harris’s motion to reduce

his sentence, he would not be successful. First, Mr. Harris’s prior misdemeanor

possession conviction was appropriately calculated as part of his criminal history

points. The 1996 sentence for possession of marijuana was within the ten year time

limit as set forth in U.S.S.G. § 4A1.2(e). Section 4A1.2(e) requires that any prior


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sentence be counted towards a defendant’s criminal history so long as the sentence

was imposed within ten years of the commencement of the instant offense.

Commencement of the instant offense includes any relevant conduct. See Note 8,

U.S.S.G. § 4A1.2. Mr. Harris’s conduct relating to the present offense began no later

than July 29, 2004, and as such, his prior sentence falls within the ten year limit and

was appropriately counted towards his criminal history.

       Furthermore, Amendment 706 took effect on November 1, 2007, before Mr.

Harris was sentenced. As such, he has already received the benefit of the reduced

offense level for cocaine base offenses. While a district court, under Spears, has

discretion to vary from the sentencing guidelines, no circumstances exist here to

suggest that this court should vary from the sentence recommended by the amended

guidelines.




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s motion

to reduce his sentence (doc. 143) is denied.



       IT IS SO ORDERED this 8th day of September, 2010.




                                   s/ John W. Lungstrum
                                   John W. Lungstrum


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                           United States District Judge




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